            Case 8:19-cr-00096-GJH Document 28 Filed 04/25/19 Page 1 of 1
                                                                                             FILED                     ERED
                                                                                             LOGGED             RECEIVED
                                               United States of America

                                                         vs.                                APR 2 5 2019
                                                                                                AT GREENBELT
                                                                                          CLERK, U.S. DISTRICT COURT
                                              Christopher Paul Hasson                       DISTRICT OF MARYLAND
                                                                                  BY                                   DEPUTY



Criminal No. GJH 19-cr-00096                                                     Government's Exhibits

                                              BAIL REVIEW HEARING


   Exhibit No.               Identification      Admitted                   Description

           1                 April 25, 2019    April 25, 2019   Colored Photos




Exhibit List (Rev. 3/1999)
